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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------- x
                                                        :
 UNITED STATES OF AMERICA,                              :
                                                        :   20 Cr. 330 (AJN)
               v.                                       :
                                                        :
 GHISLAINE MAXWELL,
                                                        :
                                                        :
                            Defendant.
                                                        :
                                                        :
------------------------------------------------------- x



    MS. MAXWELL’S SECOND EX PARTE AND IN CAMERA MOTION FOR
         AN ORDER AUTHORIZING A SUBPOENA PURSUANT TO
                      FED. R. CRIM. P 17(c)(3)




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       Defendant Ghislaine Maxwell makes this second ex parte and in camera motion for the

Court to enter an Order authorizing her counsel to issue additional subpoenas under Federal Rule

of Criminal Procedure 17(c). The legal and factual grounds for this second motion are largely

identical to those set forth in Ms. Maxwell’s first ex parte and in camera motion (“First Motion”)

for issuance of a subpoena to the law firm Boies, Schiller and Flexner LLP (“BSF”), filed with

the Court on February 21, 2021, and Ms. Maxwell expressly incorporates that First Motion by

reference. Because additional subpoenas are necessary for (a) her pending pre-trial motions, and

(b) in order to examine certain physical pieces of evidence in advance of trial in order to

adequately prepare for trial, she hereby sets forth additional facts and argument pursuant to

United States v. Nixon, 418 U.S. 683, 699-700 (1974), to justify these additional subpoenas.

       As with her First Motion, she makes this motion ex parte for the “strong policy reasons in

favor of an ex parte” process and because she is providing detail regarding her investigative and

trial strategy to demonstrate compliance with the specificity, relevance, and admissibility

requirements of a Fed. R. Crim. P. 17 subpoena. United States v. Reyes, 162 F.R.D. 468, 470

(S.D.N.Y. 1995).

   I. The Additional Subpoenas
       Ms. Maxwell seeks to serve Rule 17 subpoenas on the following law firms and

individuals. The subpoenas seek specific items each identified in their respective Attachment A:

        1. Annie Farmer (Ex. 1)

        2. Maria Farmer (Ex. 2)

        3. Brad Edwards, Esq. of Edwards Pottinger (Ex. 3)

        4. Stanley Pottinger, Esq. of Edwards Pottinger (Ex. 4)

  II. Annie and Maria Farmer

       Items 1-5


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       As previously detailed, Annie Farmer is believed to be the alleged victim referred to in

the superseding indictment as “Minor Victim 2.” She is represented by BSF. See, e.g., Annie

Farmer v. Indyke, et al., No. 19 Civ. 10475 (LGS). The proposed BSF Subpoena calls for

production of particular physical items that belong to Annie Farmer, specifically a journal, black

boots, and certain photographs. BSF produced photos of those items (and PDF replications of

the photographs) to Ms. Maxwell in the Annie Farmer action. It is unknown whether the items

are currently in the possession of BSF or Ms. Annie Farmer. Ms. Maxwell proposes to serve a

subpoena, attached as Exhibit 1, on Ms. Annie Farmer for the physical items; counsel also

proposes that service be effected through BSF if they are willing to accept service.1 Inspection

of each of these items in advance of trial is necessary for the reasons set forth in the Ms.

Maxwell’s First Motion.

       Ms. Maxwell seeks also to serve a subpoena on Ms. Annie Farmer in the event that BSF

claims the physical items are not in their custody or control, but rather belong to (and are in the

possession of) their client. The proposed subpoena seeks no new or additional information

beyond that which is sought by the BSF Subpoena.

       Similarly, Ms. Maxwell seeks also to serve a subpoena on Annie Farmer’s older sister,

Maria Farmer. See Exhibit 2. Like Annie, Maria Farmer is represented by BSF. See Maria

Farmer v. Indyke et al., 19 Civ. 10474 (NRB). Ms. Maxwell seeks to serve the proposed

subpoena on Maria Farmer through BSF if they are willing to accept service.

       Defense counsel does not believe that Maria Farmer is mentioned in the Indictment,

however, counsel believes the government will offer her as a witness at this criminal trial either



       1
          Fed. R. Crim. P. 17(c)(3) requires notice to an alleged victim where “personal or
confidential information about a victim” is being sought. These subpoenas are addressed directly
to the alleged victims so notice should be provided upon issuance.

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under Rule 404(b) or as res gestae evidence in conjunction with her sister’s allegations. See

First Motion at 11, 15-16. Maria Farmer is the individual who purportedly introduced her

younger sister to Jeffrey Epstein. In her civil lawsuit and in numerous public statements, Ms.

Maria Farmer has asserted that she has certain physical items that substantiate her allegations

against Jeffrey Epstein and Ms. Maxwell. She described in various publications certain

“envelopes” that she “still has” with the touch DNA and fingerprints of Jeffrey Epstein and

Ghislaine Maxwell.2 Ms. Maxwell seeks to examine those envelopes and to test them in advance

of trial to disprove Maria Farmer’s claims.

       Maria Farmer also reportedly met with attorneys Brad Edwards and Stanley Pottinger at

her home in Paducah, KY in or about June 2016. To counsel’s knowledge, those attorneys have

never represented Maria Farmer. Brad Edwards describes in his self-published memoir,

Relentless Pursuit, that Maria Farmer during that meeting showed him substantial physical

evidence corroborating her claims against Jeffrey Epstein and Ghislaine Maxwell, including

photographs, diaries, telephone books, Rolodexes and mementos collected from her “time with

Epstein and Maxwell.” See Ex. 2(A). Ms. Maxwell also seeks to examine these items of

physical evidence in advance of trial so that her experts and investigation team may rebut any

such evidence and effectively confront this accuser. The requests for her attorneys’ fee

agreements and her EVCP Materials are identical to those in the BSF subpoena, but are being

requested directly from her in the event her attorneys claim they do not have constructive

possession or control over those items.



       2
          In a podcast with journalist Whitney Webb which aired on May 26, 2020, Maria Farmer
claimed to possess “envelopes” that “still have the touch DNA and fingerprints on them” of
“Jeffrey and Ghislaine” and that she offered them to the FBI but the FBI said “we don’t need it.”
https://soundcloud.com/user-414392239/271-epstein-victim-maria-farmer-speaks-part-2-the-last-
american-vagabond-whitney-webb


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       Nixon Factors:

       Each of the items specified in the Annie and Maria Farmer proposed subpoenas is

relevant, specific and admissible. These two alleged victims have publicly identified the

materials and publicly proclaimed they corroborate and support their allegations. There are no

evidentiary impediments to admissibility. The documents, photographs, footwear, envelope and

mementos presumably can be authenticated by Annie or Maria Farmer at trial. To the extent that

the items turn out to have been altered or do not exist the absence of this evidence is also

relevant and admissible at trial as exculpatory evidence.

 III. Brad Edwards and Stan Pottinger
       Items 1-5: Communications Concerning Meetings with the U.S. Attorney’s Office

       As detailed in the First Motion, Brad Edwards and Stan Pottinger3 represented Virginia

Giuffre (along with BSF) beginning in or about 2015. It was in connection with that

representation that both attorneys apparently met with AUSA Amanda Kramer on or about

February 29, 2016 in order to press a criminal prosecution of Ghislaine Maxwell. See First

Motion at 4-9. Based on the discovery recently produced, Mr. Pottinger is known to have

emailed with Ms. Kramer in or about May 2016. According to a “source,” the NY Daily News

reported that “Boies and Pottinger re-approached Kramer [after Ms. Maxwell’s July 2016

deposition] and asked if the Southern District would consider charging Maxwell with perjury.”

AUSA Kramer has claimed that she does not “remember” a second meeting. Mr. Edwards wrote

about his first meeting with the U.S. Attorney’s Office in his memoir, Relentless Pursuit.




       3
         In 2015-17, Mr. Pottinger and Mr. Edwards worked at different law firms. At some
unknown later time, they joined efforts and formed their current firm, Edwards Pottinger. It is
unclear who the current custodian of their records might be, so Ms. Maxwell proposes serving
subpoenas on both of them individually.

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topic, communications about Ms. Maxwell,                         and             .7 The

communications are relevant, authentic, and an appropriate evidentiary foundation can be

established under many rules of evidence including F.R.E. 803(6). Ms. Maxwell seeks to

introduce this evidence in connection with the pending motions. However, the information may

also be admissible at any trial. Ms. Maxwell was the target of these lawyers who sought to profit

by suing her and Epstein. Having Ms. Maxwell indicted during the pendency of the defamation

action would have been very helpful to their cause. The lawyers also represent two of the

accusers and many of the potential witnesses. The lawyers, and their clients, have traded

information for years which has either, intentionally or unintentionally, allowed the witnesses to

conform their testimony. Establishing the relationships between the witnesses, their lawyers, and

the government will be a significant aspect of Ms. Maxwell’s defense. Additionally, there is

reason to believe the government will attempt to call one or more of the lawyers to testify at trial

to attempt to establish the materiality of Ms. Maxwell’s deposition testimony to the Giuffre civil

action.

          With respect to the physical evidence (Items 6-9), each of the items specified is relevant,

specific and admissible. Brad Edwards has described his and Mr. Pottinger’s meeting with

Maria Farmer.




                 There are no evidentiary impediments to admissibility. The documents and

photographs presumably can be authenticated by Annie or Maria Farmer at trial. To the extent



          7
        The government’s recent disclosures concerning Ms. Kramer’s communications with
Mr. Pottinger in May 2016 included an email from            that contained a screenshot of a
new witness,


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that the items turn out to have been altered or do not exist the absence of this evidence is also

relevant and admissible at trial as exculpatory evidence.

 IV. Request

       Ms. Maxwell filed various pretrial motions which are currently pending before the Court.

Ms. Maxwell anticipates that one or more of her pending motions will require the presentation of

evidence, that certain evidence central to the accusations in this matter will need to be examined

in advance of trial as part of the investigation of her defense, and that the requested evidence is

admissible at trial. Accordingly, Ms. Maxwell seeks production of these materials in advance of

trial. She makes this motion ex parte for the “strong policy reasons in favor of an ex parte”

process and because she is providing detail regarding her investigative and trial strategy to

demonstrate compliance with the specificity, relevance, and admissibility requirements of a Rule

17(c) subpoena. United States v. Reyes, 162 F.R.D. 468, 470 (S.D.N.Y. 1995).

       It is well-established that the Court may order that the materials should be produced to

counsel’s office, rather than to the courtroom itself. See, e.g., United States v. DNRB, Inc., No.

4:15-cr-0362, 2017 WL 2806251, at *3 (W.D. Mo. June 27, 2017) (directing production to

requesting party); United States v. Jewell, Crim. No. 4:07-cr-00103, 2008 WL 3871736, at *3

(E.D. Ark. Aug. 15, 2008) (directing third-party to produce nonprivileged responsive material to

defendant’s counsel). Once delivered to counsel's office, the materials are not automatically

required to be shared with the government. Whether they are required to be shared is determined

by other applicable rules, e.g., Federal Rule of Criminal Procedure 16(b).

       As with her First Motion, she makes this motion ex parte for the “strong policy reasons in

favor of an ex parte” process and because she is providing detail regarding her investigative and

trial strategy to demonstrate compliance with the specificity, relevance, and admissibility




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requirements of a Fed. R. Crim. P. 17 subpoena. United States v. Reyes, 162 F.R.D. 468, 470

(S.D.N.Y. 1995).

       WHEREFORE, Ms. Maxwell respectfully requests an ex parte and under seal Order

from this Court authorizing service of the attached subpoenas on the individuals described for the

documents and items detailed in each of the subpoenas’ respective Attachment As.

       Dated: March 19, 2021

                                              Respectfully submitted,


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